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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                             DEFERRED PROSECUTION
                                                                     AGREEMENT
                            v.
                                                                     S1 17 Cr. 357 (LAK)
ROBERT OLAN,

                                   Defendant.


TO:       ROBERT OLAN,

                 1.   On March 5, 2018, Superseding Indictment S1 17 Cr. 357 (LAK) (the

“Indictment”) was filed in 18 counts, some of which charged ROBERT OLAN, the defendant, with

participating in a scheme to misappropriate confidential information from the Centers for Medicare

and Medicaid Services (“CMS”) for use in placing profitable securities trades.

                 2.   On May 3, 2018, a jury convicted OLAN of Count One, which charged

conspiracy to convert United States property, to commit securities fraud, and to defraud the United

States, in violation of 18 U.S.C. § 371; Count Two, which charged conspiracy to commit wire fraud

and securities fraud, in violation of 18 U.S.C. § 1349; Count Three, which charged conversion of

United States property, in violation of 18 U.S.C. §§ 641 and 2; Count Nine, which charged wire

fraud, in violation of 18 U.S.C. §§ 1343 and 2; and Count Ten, which charged securities fraud, in

violation of 18 U.S.C. §§ 1348 and 2.

                 3.   On December 30, 2019, the U.S. Court of Appeals for the Second Circuit

affirmed the convictions of OLAN. United States v. Blaszczak, 947 F.3d 30 (2d Cir. 2019).

                 4.   On September 4, 2020, OLAN filed a petition for a writ of certiorari.

                 5.   At the Solicitor General’s request, the Supreme Court vacated the Second

Circuit’s judgment and remanded the case for further consideration in light of Kelly v. United




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States, 140 S. Ct. 1565 (2020). Olan v. United States, 141 S. Ct. 1040 (2021); Blaszczak v. United

States, 141 S. Ct. 1040 (2021).

                 6.      On remand to the U.S. Court of Appeals for the Second Circuit, the

Government was constrained to concede error with respect to Counts One, Two, Three, Nine and

Ten in light of Kelly.

                 7.      On December 27, 2022, the U.S. Court of Appeals for the Second Circuit

issued a decision, inter alia, remanding Counts Two, Three, Nine, and Ten of the Indictment to the

District Court to permit the Government to dismiss those counts of conviction, and remanding

Count One of the Indictment to the District Court for a new trial. United States v. Blaszczak, 56

F.4th 230 (2d Cir. 2022). 1

                 8.      OLAN hereby acknowledges receiving information from a consultant

regarding a proposed rule change by CMS prior to its issuance, and using the information in

analyzing and placing securities trades at Deerfield Management Company, L.P.

                 9.      After careful consideration of the foregoing, the Government has

determined that the interest of the United States and OLAN’s own interest will best be served by

deferring the retrial of Count One of the Indictment. The retrial will be deferred during the term of

OLAN’s good behavior and satisfactory compliance with the terms of this agreement for the period

of three months from the signing of this agreement (the “Period”). The terms and conditions

constituting OLAN’s good behavior and satisfactory compliance are as follows:

                         a.    You shall refrain from any violation of law (federal, state and local).

You shall immediately contact your U.S. Pretrial Services Officer if arrested or questioned by a

law-enforcement officer.

1
  Pursuant to United States v. Blaszczak, 56 F.4th 230 (2d Cir. 2022), the Government will move
to dismiss Counts Two, Three, Nine, and Ten of the Indictment, even if the Government decides
to proceed to retrial on Count One.

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                       b.      You shall associate only with law-abiding persons.

                       c.      You shall notify your supervising U.S. Pretrial Services Officer

prior to traveling outside the United States.

                       d.      You shall notify your supervising U.S. Pretrial Services Officer

immediately of any change in your place of residence.

                       e.      You shall follow your supervising U.S. Pretrial Services Officer's

instructions and advice.

                       f.      You shall report to your supervising U.S. Pretrial Services Officer as

directed.


                 10.   As a further condition you hereby consent to disclosure, by any federal, state

or local government agency, or by any medical or substance abuse treatment provider, to the U.S.

Pretrial Services Officer supervising your case, of such medical and treatment records as may be

requested by the Pretrial Services Officer to evaluate deferral of prosecution in this case. You

further agree that you will execute any additional consent forms that any such agency or provider

may require to release such information.

                 11.   The United States Attorney agrees that, upon the signing of this agreement,

your passport shall be returned and the restrictions on your travel set forth in your appearance bond

shall be removed, subject to the limitation in paragraph 9(c) above.

                 12.   The United States Attorney may at any time during the Period proceed with

the retrial of Count One of the Indictment should the United States Attorney determine, in his or

her sole discretion, that this agreement has been violated.

                 13.   If upon completion of your supervision a written report from your

supervising U.S. Pretrial Services Officer is received to the effect that you have complied with all




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the rules, regulations and conditions and special conditions applicable to your deferred prosecution,

no retrial of Count One of the Indictment will be instituted in this District, and the United States

Attorney will move to dismiss with prejudice all remaining charges against you in S1 17 Cr. 357

(LAK).

Dated: New York, New York
       July ___,
            24 2023


                                                          DAMIAN WILLIAMS
                                                          United States Attorney for the
                                                          Southern District of New York



                                                   By: ____________________________
                                                       Alexandra Rothman
                                                       Assistant United States Attorney
                                                       Tel.: (212) 637-2580




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/s/ David Esseks
/s/ Eugene Ingoglia
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                 Pursuant to 18 U.S.C. § 3161(h)(2), exclusion under the Speedy Trial Act of the
period of time during which the prosecution of the defendant is deferred pursuant to this agreement
is hereby approved. In addition, the bail modification set forth in Paragraphs 9(c) and 11 of the
agreement is so ordered.


Dated: New York, New York
       July ___, 2023



                                                         Hon. Lewis A. Kaplan
                                                         United States District Judge


                 The undersigned hereby consents to the foregoing and will accept supervision of

the above-named defendant on the conditions set forth herein.


Dated: New York, New York
       July ___,
            20 2023




                                                         Marlon Ovalles
                                                         United States Pretrial Services Officer




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